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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF
                           MISSISSIPPI, OXFORD DIVISION


CLAUDIA LINARES as spouse of ISMAEL LOPEZ,                                         PLAINTIFFS
Deceased, and Edward T. Autry as Administrator of
the Estate of Ismael Lopez, Deceased

vs.                                                                    NO. 3:19cv133-NBB-RP

CITY OF SOUTHAVEN, STEVE PIRTLE, in his official capacity             DEFENDANTS
as Chief of Police of the Southaven Police Department, OFFICER
SAMUEL MAZE, individually and in his official capacity as a Southaven
Police Officer, OFFICER ZACHARY DURDEN, individually and in his
official capacity as a Southaven Police Officer, and JOHN DOES 1-25


                 MOTION TO WITHDRAW AS COUNSEL OF RECORD

       1. The undersigned Counsel Katherine Kerby and the Kerby Law Firm, LLC entered an

          appearance in this cause as counsel for Defendants City of Southaven, Mississippi,

          Steve Pirtle, in his official capacity, Samual Maze,individually and in his official

          capacity,and Zachary Durden,individually and in his official capacity.

       2. Katherine Kerby and the Kerby Law Firm LLC move to withdraw as Counsel for said

          parties based on the sudden critical family illness of Counsel’s spouse.

       3. The same Defendants had additional and other counsel of record file Entries of

          Appearance on February 4, 2022 at Docket # 86 and 87 filed by Edward Currie and

          Rebeccao Cowan of the Currie Johnson and Myers law firm of Flowood, MS.

       4. No prejudice will occur to any othe parties if this motion is granted.

       5. Katherine Kerby and the Kerby Law Firm, LLC respectfully request that this Court

          enter an order allowing her to withdraw as Counsel for the above listed Defendants.

              Respectfully Submitted this the 11th day of February, 2022 by the City of

              Southaven, Mississippi Steve Pirtle, in his official capacity,

              Samuel Maze,individually and in his official capacity,and Zachary
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                      Durden,individually and in his official capacity.



                                                     By:/s/ Katherine S. Kerby, MSB # 3584
                                                        One of their Attorneys


OF COUNSEL:
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                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

       the ECF system which sent notification of such filing to all Counsel of record for all

       parties

                                    So Certified, this the 11th day of February, 2022.

                                                     /s/ Katherine S. Kerby
                                                     KATHERINE S. KERBY
